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                         Exhibit C
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---------- Forwarded message ---------
From: Jami Rodgers <jrodgers@usaid.gov>
Date: Mon, Feb 17, 2025 at 8:43 PM
Subject: Notice to USAID A&A Staff to Suspend Blanket Pause on Foreign Assistance
To: m.oaamaillistusaid@usaid.gov <m.oaamaillistusaid@usaid.gov>, mission-fs-coaos-
all@usaid.gov <mission-fs-coaos-all@usaid.gov>, allexosmissionmaillist@usaid.gov
<allexosmissionmaillist@usaid.gov>, usaidoaafsnnetwork@usaid.gov
<usaidoaafsnnetwork@usaid.gov>
CC: Kenneth Jackson <kensjackson@usaid.gov>, Joel Borkert <jborkert@usaid.gov>, Jason Gray
<jasgray@usaid.gov>, Aiyong (Paul) Seong <aseong@usaid.gov>, Lynn Winston
<lwinston@usaid.gov>, Rebecca Krzywda <rkrzywda@usaid.gov>, Jeremy Lewin
<jlewin@usaid.gov>, Nadeem Shah <nshah@usaid.gov>, Chitahka Floore <cfloore@usaid.gov>,
Gregory Marchand <gmarchand@usaid.gov>, m.oaa.comms@usaid.gov
<m.oaa.comms@usaid.gov>



Dear Colleagues,



On February 13, 2025, the U.S. District Court for the District of Columbia, in cases titled AIDS
Vaccine Coalition v. U.S. Department of State and Global Health Council v. Trump, entered a
temporary restraining order (TRO) against the Department of State, USAID, and OMB that prevents
“enforcing or giving effect to Sections 1, 5, 7, 8, and 9 of Dep’t of State, Memorandum, 25 STATE
6828 (January 24, 2025) and any other directives that implement Sections 3(a) and 3(c) of Executive
Order Number 14169, ‘Reevaluating and Realigning United States Foreign Aid’ (January 20, 2025),”
including by “suspending, pausing, or otherwise preventing the obligation or disbursement of
appropriated foreign-assistance funds in connection with any contracts, grants, cooperative
agreements, loans, or other federal foreign assistance award that was in existence as of January 19,
2025,” or “issuing, implementing, enforcing, or otherwise giving effect to terminations,
suspensions, or stop-work orders in connection with any contracts, grants, cooperative
agreements, loans, or other federal foreign assistance award that was that was in existence as of
January 19, 2025.” The Court’s order does not “prohibit [USAID] from enforcing the terms of
contracts or grants.”



Accordingly, until further notice, all Contracting and Agreement Officers should not enforce
any Agency directive issued under Executive Order 14169 and the Secretary’s implementing
memorandum that requires the generalized stop work, suspension, or pause of Agency
contracts, grants, or other federal assistance awards.



The Front Office is in the process of adopting a comprehensive review process for assuring payment
integrity and determining that payments under existing contracts and grants are not subject to fraud
or other bases for termination. These new case-by-case review processes will be consistent with
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the TRO. Further guidance on the new payments integrity and grants and contracts review process
is forthcoming.



Sincerely,



Jami J. Rodgers, CPCM

U.S. Agency for International Development (USAID)

Chief Acquisition Officer and Senior Procurement Executive

Director, Bureau for Management Office of Acquisition and Assistance (M/OAA)
